       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Ryan Austin Collins
        v. Commonwealth of Virginia
        Record No. 1096-14-2
        Opinion rendered by Judge AtLee on
        July 21, 2015

    2. Quyen Vinh Phan Le
        v. Commonwealth of Virginia
        Record No. 0850-14-4
        Opinion rendered by Judge O’Brien on
        July 28, 2015

    3. Andrew Wallace
        v. Commonwealth of Virginia
        Record No. 1476-14-1
        Opinion rendered by Judge Petty on
        July 28, 2015

    4. George Lee Hawkins
        v. Commonwealth of Virginia
        Record No. 1270-14-1
        Opinion rendered by Judge Chafin on
        August 4, 2015

    5. Edgar Edmundo Moreno
       v. Commonwealth of Virginia
       Record No. 1216-14-4
       Opinion rendered by Judge Beales on
        August 11, 2015

    6. Shavis Donta Holloman
        v. Commonwealth of Virginia
        Record No. 1319-14-1
        Opinion rendered by Judge Decker on
        August 11, 2015
      On September 17, 2015 the Supreme Court issued an opinion in the following case,
which had been appealed from this Court:

  1. Tevin Gary Evans
     v. Commonwealth of Virginia
     Record No. 1965-13-1
     CAV petition for appeal denied by Judge Alston on April 24, 2014 and by
      Judges Petty, Frank and Senior Judge Bumgardner on July 22, 2014
     Judgment of Court of Appeals affirmed
     (141206)
